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                   UNITED STATES DISTRICT COURT
                          DISTRICT OF MAINE
______________________________
                                )
UNITED STATES OF AMERICA        )
                                )
v.                              )         Crim. No. 2:19-CR-00123-DBH
                                )
DAMON FAGAN,                    )
      Defendant                 )
______________________________  )



                    MR. FAGAN’S MOTION FOR DISCOVERY
                           (HEARING REQUESTED)


       NOW COMES the Defendant Damon Fagan, by and through his attorney, David J.

Bobrow, Esq., and seeks formal discovery from this Honorable Court as follows:



                           FACTUAL SUMMARY



       This matter is before the Court on the Government’s Single Count Indictment for

Possession with Intent to Distribute Heroin in violation of 21 U.S.C. §841(a)(1). ECF

#24. On or about January 6, 2019, Trooper John Darcy stopped the Defendant Damon

Fagan, an African-American male, who was traveling northbound on the Maine State

Turnpike. Transcript of Motion to Suppress, pg. 9-10. The basis for the stop of the




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vehicle was a lane change that ‘cut off’ another vehicle. Id. at 12-13.1 The infraction does

not clearly appear on video. Suppression Videos, generally. Mr. Fagan filed a Motion to

Suppress arguing there was no lawful basis for the stop of his vehicle. ECF #46, pg. 4.

The Court conducted a hearing on February 6, 2020. ECF #66. On February 11, 2020, the

Court issued an oral order denying the Motion to Suppress. ECF #75. Subsequently, the

Government provided information to counsel for Mr. Fagan regarding a stop initiated by

Trooper Darcy that occurred on or about August 15, 2019. That stop, eerily similar to the

one of Mr. Fagan also involved an African-American male named Terrel Walker. See

United States v. Walker, CMECF 2:19-cr-00220. In that matter, Mr. Walker was driving

Northbound on Interstate 95. Id. at ecf #55, 56, 58. After observing Mr. Walker, Trooper

Darcy engaged in the following recorded exchange with another officer in the police

vehicle:


         John Darcy: “Like, if I see a white thug, I’m going to be interested, just like a black
         thug or a fucking Chinese thug. Like, I’m interested in thugs. That’s not racial
         profiling. Like, some black guy goes by, and he’s just like a normal dude from
         Portland, I don’t give a fuck. You know what I mean, like whatever. This guy kinda
         looks like a thug to be honest with you.”

         Patrick Pescitelli: “The guy… you see the guy driving?”

         John Darcy: “Yeah, he’s wearing a wifebeater, he’s got dreads. He looks like a
         thug. He may not be . . . and I’m not profiling him racially because I don’t care that
         he’s white or black. White kid, neck tats all over him, fucking sideways hat, thug.
         You know what I mean? So like . . . I get . . . I hate when people try to make it seem
         like that’s what it is. I care about where people are from, and the way they seem . .
         . you know what I mean? Do they seem like they can be involved in drug dealing
         or gangs or something. I don’t give a fuck if someone’s black or white. Like . . .
1
  The Trooper also testified that the Defendant failed to use his turn signal but later acknowledged that this was not a
traffic infraction. Id. at 55-56.
                                                           2
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        and I like saying this, like Nicole has a niece who is half-black. I’ll tell someone,
        ‘Dude, my fucking niece is half-black.’ Like, don’t play that racial shit with me.”

        Id.

        In that matter, Trooper Darcy’s purpose of the stop was Mr. Walker’s travel in the

center lane of the three-lane Northbound section of I-95. Id. Trooper Darcy claimed to have

stopped Mr. Walker for violation of 29-A M.R.S. § 2052, which restricts drivers on divided

highways to

“ordinary operation to the right-hand lane and may use adjacent lanes for overtaking and

passing

another vehicle, but must return to the right-hand lane at the earliest opportunity. 29-A

M.R.S.A. § 2052(6). Id.1 Mr. Fagan has sought to reopen his suppression hearing based

on the new information that could not be presented at the initial suppression hearing.

ECF #115.2 Undersigned counsel has sought an extension of time to supplement that

Motion. ECF #117. Additionally, undersigned counsel is aware of another matter where

Trooper Darcy followed a vehicle in which the passenger was an African-American male

that was alleged to be engaged in operating slowly from the York Toll Plaza until it was

stopped in Portland. See United States v. Martin, CMECF 2:18-cr-00124. That alleged

infraction also was not captured on video. Id. These cases are clearly not in isolation.

https://www.pressherald.com/2020/10/08/criminal-case-dropped-as-state-trooper-faces-

racial-profiling-allegations/. Additionally, Trooper Darcy has previously been accused of


1
 It is noteworthy that the Government dismissed the case against Mr. Walker. Walker ECF #66.
2
 The pleading was characterized as a Motion to Reconsider and has been supplemented and filed contemporaneously
with this Motion.
                                                      3
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racial profiling before this Court. See United States v. Anthony Jones, Case 2:19-cr-201,

ECF #47, Order on Motion for Discovery.


                     ADDITIONAL DISCOVERY REQUESTS


       Mr. Fagan requests the following materials be provided by the Government

pursuant to its obligations and responsibilities under Brady v. Maryland and its progeny.

373 U.S. 83 (1963). In the event that the government asserts, as it is likely to do, that such

materials are not within the scope of Brady, Mr. Fagan respectfully requests that this

Court order such materials produced to the Court for in camera review pursuant to Brady.

       Mr. Fagan requests the following materials:

   1. All communications between Trooper Darcy and dispatch from 9:00 P.M. January
      6, 2019 until Midnight on January 6, 2019.

   2. A list of all electronic requests from Trooper Darcy related to information on
      vehicles operating on the interstate from 9:00 P.M. until Midnight on January 6,
      2019.

   3. All police reports, video and audio recordings for any vehicle stops on the Maine
      Turnpike conducted by Trooper John Darcy in the last three years. For each report
      or incident please include:
          a. The purported justification for the stop;
          b. The race of the driver and any or all passengers in the vehicle;
          c. Names of drivers and vehicle occupants;
          d. All records of citations and warnings actually issued pursuant to these stops,
             and all records of drivers released with no formal action taken against them;
          e. All records related to the frequency with which Trooper Darcy actually
             discovers contraband in stopped vehicles.

   4. Any complaints known, filed or reported against Trooper Darcy by the public or
      his peers and colleagues or prosecutors alleging that he conducted traffic stops not
      supported by articulable suspicion or engaged in racial profiling for the duration of

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      his law enforcement career, and any disciplinary actions taken against him on
      these bases.

   5. Any complaints known, filed or reported against Trooper Darcy by the public or his
      peers and colleagues or prosecutors for using racial slurs, articulating racial
      prejudice, using or referencing racial stereotypes or other racist language or
      behavior.

   6. All police reports, video and audio recordings for any vehicle stops on the Maine
      Turnpike conducted by all troopers of Troop G of the Maine State Police in the
      last three years. For each report or incident please include:
          a. The purported justification for the stop;
          b. The race of the driver and any or all passengers in the vehicle;
          c. Names of drivers and vehicle occupants;
          d. All records of citations and warnings actually issued pursuant to these stops,
              and all records of drivers released with no formal action taken against them;
          e. All records related to the frequency with which troopers actually discover
              contraband in stopped vehicles.

   7. Any complaints known, filed or reported against troopers of Troop G of the Maine
      State Police by the public or their peers and colleagues or prosecutors alleging that
      they conducted traffic stops not supported by articulable suspicion or engaged in
      racial profiling for the duration of their law enforcement career, and any disciplinary
      actions taken against troopers on these bases.

   8. Any complaints known, filed or reported against troopers of Troop G of the Maine
      State Police by the public or peers and colleagues or prosecutors for using racial
      slurs, articulating racial prejudice, using or referencing racial stereotypes or other
      racist language or behavior.

   9. The names of all other persons present in a vehicle with Trooper Darcy when he
      initiated a stop of a motor vehicle containing an African-American male and the
      date of the stop.


                     ARGUMENT AND MEMORANDUM OF LAW


      Evidence which is favorable to the accused and material to guilt or punishment

must be produced by the government pursuant to Brady v. Maryland. 373 U.S. 83 (1963).
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“Evidence is ‘favorable to the accused’ if it is either exculpatory or impeaching in

nature.” United States v. Prochilo, 629 F.3d Case 2:19-cr-264, 268 (1st Cir. 2011); United

States v. Armstrong, 517 U.S. 456, 116 S.Ct. 1480, 134 L.Ed.2d 687 (1996) (in a case of

alleged selective prosecution, in order to prevail on the merits the defendant must

demonstrate that the action had a discriminatory effect and was motivated by a

discriminatory purpose).

      To prevail in this discovery request, a defendant is required to “articulate with

some specificity” three reasons to grant the request. Prochlo at 269. First, Mr. Fagan

must describe “what evidence he hopes to find in the requested materials.” Id. Second,

he must explain “why he thinks the materials contain this evidence.” And finally, he

must describe “why this evidence would be both favorable to him and material.” Id.

      In this Motion, undesigned counsel has identified several cases with the following

similar facts: 1) no video of the driving infraction, 2) involving African-American males,

and 3) stops based on questionable violations. This Court need not rely upon this

representation, however, as we have Trooper Darcy’s own words:

      John Darcy: “Yeah, he’s wearing a wifebeater, he’s got dreads. He looks like a
      thug. He may not be . . . and I’m not profiling him racially because I don’t care that
      he’s white or black. White kid, neck tats all over him, fucking sideways hat, thug.
      You know what I mean? So like . . . I get . . . I hate when people try to make it seem
      like that’s what it is. I care about where people are from, and the way they seem . .
      . you know what I mean? Do they seem like they can be involved in drug dealing
      or gangs or something. I don’t give a fuck if someone’s black or white. Like . . .
      and I like saying this, like Nicole has a niece who is half-black. I’ll tell someone,
      ‘Dude, my fucking niece is half-black.’ Like, don’t play that racial shit with me.”




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          This is clear evidence of Trooper Darcy’s racial bias and animus. Other evidence

might allow for the conclusion that Trooper Darcy engages in a statistically higher rate of

traffic stops, searches, and summonses for minor offenses for drivers or passengers of

color. See United States v. Henderson, 463 F.3d 27 *; 2006 U.S. App. LEXIS

22852 (“{t}he case then proceeded to trial. Kominsky was the first witness. After his

direct examination, the government belatedly produced documents indicating that

Kominsky had been the subject of complaints for subjecting drivers to baseless and

harassing stops, along the same stretch of road where he stopped Alford and Henderson.

Henderson asked that the trial be stayed and the motion to suppress reopened.”)

         Additionally, Mr. Fagan seeks to find a pattern of racist statements, actions, and

attitudes expressed by Trooper Darcy and reflected in his disciplinary record. According

to the Stanford University Open Policing Project, nationwide rates of stops and searches

are higher for black and Hispanic motorists, suggesting racial bias in policing is widely

pervasive and significant.1 Mr. Fagan reasonably suspects such evidence exists in the

requested materials and that such materials will cast doubt on his veracity and credibility.

“Factors other than demeanor and inflection go into the decision whether or not to believe

a witness. Documents or objective evidence may contradict the witness' story; or the

story may be so internally inconsistent or implausible on its face that a reasonable fact-

finder would not credit it. Where such factors are present, the court of appeals may well




1
 A large-scale analysis of racial disparities in police stops across the United States, Pierson, E., et al., available at:
https://5harad.com/papers/100M-stops.pdf (last visited June 25, 2020).
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find clear error even in a finding purportedly based on a credibility determination.”

Anderson v. Bessemer City, 470 U.S. 564, 575 (1985).

       If the requested materials show a pattern of racial animus by Trooper Darcy, it is

admissible and favorable to Mr. Fagan. United States v. Pemberton, 1:18-cr-00099-JAW-

1(“Mr. Pemberton who wishes to introduce the evidence of racial bias to undercut the

credibility of the police officers who investigated the case. Assuming Mr. Pemberton

presents a proper foundation, the Court would likely view such evidence, presented

through cross-examination, to be admissible.”)

       Evidence of racial bias is material to Trooper Darcy’s credibility and bias and

informs this Court’s evaluation of his testimony regarding Mr. Fagan’s alleged

unrecorded motor vehicle infraction. Such evidence is favorable to Mr. Fagan to the

extent it impeaches Trooper Darcy’s credibility regarding the validity of this traffic stop.

If records of Trooper Darcy’s efforts to enforce such infractions follow a racialized

pattern, such evidence supports Mr. Fagan’s claim that Trooper Darcy did not have an

actual articulable suspicion of any wrongdoing, but rather stopped Mr. Fagan on the basis

of his race alone, or, using his own words, because he “looks like a thug.” Thus, materials

requested herein likely contain “favorable, material evidence,” in support of Mr. Fagan’s

Motion to Reopen Motion to Suppress filed contemporaneously with this Motion.

Prochilo, 629 F.3d 264, 269.



       WHEREFORE, for all the foregoing reasons, Mr. Fagan requests that this

Honorable Court Order the United States produce the requested materials to the Defendant
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or to the Court for an in camera review to assess their materiality and favorability to the

Defendant.



       Dated this 19th day of October, 2020 at Portland, Maine.


                                                 Respectfully submitted,

                                                /s/ David J. Bobrow, Esq.
                                                Attorney for Damon Fagan
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                    UNITED STATES DISTRICT COURT
                           DISTRICT OF MAINE
 ______________________________
                                 )
 UNITED STATES OF AMERICA        )
                                 )
 v.                              )         Crim. No. 2:19-CR-00123-DBH
                                 )
 DAMON FAGAN,                    )
       Defendant                 )
 ______________________________  )




                             CERTIFICATE OF SERVICE


       I, David J. Bobrow, Esq., hereby certify that I have caused to be served via ECF
 this Motion for Discovery on the following individuals:

       1.     Nicholas Scott, Esq. at <Nicholas.Scott@usdoj.gov>;

       2.     All other attorneys of record in this matter.

       Dated this 19th day of October, 2020 at Portland, Maine.

                                                  Respectfully submitted,

                                                  /s/ David J. Bobrow, Esq.
                                                  Attorney for Damon Fagan
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